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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )
                                       )
      v.                               )                Case No. 07-20072-05-JWL
                                       )
CLARISSA BURGOON                       )
      a.k.a. CHRISSY,                  )
                                       )
                  Defendant.           )
                                       )
______________________________________ )


                           MEMORANDUM AND ORDER

I. Background

       In April 2008, Ms. Clarissa Burgoon pled guilty to conspiring to commit money

laundering, in violation of 18 U.S.C. § 1956(a)(1)(A)(i) and (a)(1)(B)(i), (h). Ms.

Burgoon signed a plea agreement in which she waived the right to appeal her sentence if

it fell within the range recommended by the sentencing guidelines and the right to

challenge her sentence by collaterally attacking it pursuant to 28 U.S.C. § 2255, except as

limited by United States v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001). In July

2008, Ms. Burgoon was sentenced to a 240-month term of imprisonment.


       In June 2009, Ms. Burgoon filed a petition to vacate, set aside or correct her

sentence under 28 U.S.C. § 2255 (Doc. #473). In her petition, Ms. Burgoon contends

that (1) the government breached the plea agreement by failing to recommend a reduction

for acceptance of responsibility, thereby invalidating the entire agreement and (2) she
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received ineffective assistance of counsel in connection with the negotiation of her plea

agreement. In response, the government filed a motion to enforce the waiver contained in

the plea agreement (Doc. #480), asserting that it did not breach the plea agreement and

that the claims alleged in Ms. Burgoon’s § 2255 motion fall within the waiver of rights

contained in the plea agreement. As to the latter, the government specifically contends

that any alleged ineffective assistance of counsel did not occur in connection with

negotiation of the plea agreement and therefore falls outside the limitations of

Cockerham. The government also asserts that this Court should enforce the waiver

contained within the plea agreement because it was knowingly and voluntarily entered

into, and enforcing it would not result in a miscarriage of justice.


       For the reasons given below, the Court concludes that the government did not

breach the plea agreement. In addition, the Court finds that Ms. Burgoon’s ineffective

assistance claim does not satisfy the two-prong test enunciated by the Supreme Court in

Strickland v. Washington, 466 U.S. 668 (1984), and that enforcement of the waiver will

not result in a miscarriage of justice. Thus, Ms. Burgoon’s petition is denied and the

government’s motion to enforce is granted.




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II. Analysis



A. Breach of the Plea Agreement

       If the government breached its obligations under the plea agreement, Ms.

Burgoon’s waiver of rights may not be enforced. United States v. Rodriguez-Rivera, 518

F.3d 1208, 1212 (10th Cir. 2008). There is a two-step analysis for determining whether

the government breached a plea agreement: the Court (1) “examines the nature of the

promise and (2) evaluates the promise in light of the defendant’s reasonable

understanding of the promise at the time of the guilty plea.” United States v. Villa-

Vazquez, 536 F.3d 1189, 1196 (10th Cir. 2008) (quoting United States v. Guzman, 318

F.3d 1191, 1195-96 (10th Cir. 2003)). The government’s obligations under the plea

agreement are defined by “general principles of contract law,” looking to the express

language of the agreement. Id. Moreover, any ambiguities are construed against the

government, as the drafter of the agreement. Id.


       Under the terms of the plea agreement, the government agreed to recommend to

the Court that Ms. Burgoon receive a two level reduction for acceptance of responsibility.

(Doc. #312 at 8). Moreover, the government agreed to request an additional one level

reduction for acceptance of responsibility if Ms. Burgoon’s offense level turned out to be

16 or greater, because Ms. Burgoon “timely notified the government of her intention to

enter a plea of guilty.” (Doc. #312 at 8). The Court reduced Ms. Burgoon’s sentence by

two levels, but the government did not request the additional one level reduction although



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Ms. Burgoon’s applicable offense level was greater than 16. Ms. Burgoon therefore

received only a two level reduction for acceptance of responsibility. (Doc. #414 at 24).


       However, the government did not breach the plea agreement with Ms. Burgoon by

refusing to recommend the additional one level reduction for acceptance of responsibility.

The plea agreement explicitly states that the government’s obligation to recommend such

a reduction is “contingent upon the defendant’s continuing manifestation of acceptance of

responsibility as determined by the United States.” (Doc. #312 at 8). Moreover, the plea

agreement permits the government to withdraw its recommendation if Ms. Burgoon

“denies or gives conflicting statements as to her involvement, falsely denies or

frivolously contests relevant conduct that the court determines to be true, willfully

obstructs or impedes the administration of justice…or engages in additional criminal

conduct…” (Doc. #312 at 8-9). The government asserts that Ms. Burgoon’s conduct

during sentencing demonstrated she no longer continued to accept responsibility for her

actions. In particular, the government contends that she testified falsely and frivolously

contested the scope of her involvement in the conspiracy. In support of this proposition,

the government points to the Court’s finding that Ms. Burgoon testified untruthfully

about her involvement in the conspiracy1 and the fact the Court considered denying Ms.

Burgoon any reduction for acceptance of responsibility and instead enhancing her




1
 The Court concluded during sentencing that Ms. Burgoon “lied in her testimony to the
Court about her involvement in the conspiracy.” (Doc. # 414 at 24).

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sentence for obstruction of justice.2 The Court agrees that the government did not breach

the plea agreement by refusing to recommend the reduction because the plea agreement

made the government’s promise to recommend a reduction contingent upon Ms. Burgoon

testifying truthfully and the Court did find that Ms. Burgoon testified falsely during

sentencing. See United States v. Wilson, 268 Fed. App. 804, 807, 2008 WL 681740, at *3

(10th Cir. Mar. 11, 2008) (unpublished opinion) (concluding the government did not

breach the plea agreement when it refused to recommend a reduction for acceptance of

responsibility because the court found the defendant perjured herself at the sentencing

hearing and did not accept responsibility for her crimes) and United States v. Macias, 229

Fed. Appx. 683, 685, 2007 WL 1054691, at * 2 (10th Cir. April 10, 2007) (unpublished

opinion) (noting that the government did not breach the plea agreement by objecting to a

reduction based upon acceptance of responsibility when the defendant made a statement

to a probation officer that “grossly minimize[ed] his involvement” and amounted “to an

outright denial of responsibility”), cert. denied, 128 S. Ct. 249 (2007). See also United

States v. Rodriguez-Rivera, 518 F.3d at 1213-14 (holding the government did not breach

the plea agreement by recommending against a reduction for acceptance of responsibility

where the defendant falsely contested relevant conduct found to be true).




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  The Court noted at sentencing that it could deny her any reduction for acceptance of
responsibility and could enhance her sentence for obstruction of justice based. However,
the Court found that the issue was “moot in light of the statutory maximum sentence” for
her crime and the fact that the advisory guideline sentencing range would result in a
sentence in excess of the statutory maximum. (Doc. # 414 at 24).
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B. Enforceability of the Waiver

       Because the government did not breach the plea agreement with Ms. Burgoon, the

Court must determine whether the waiver provision within the plea agreement bars Ms.

Burgoon’s claims of ineffective assistance of counsel. The court will hold a defendant

and the government to the terms of a lawful plea agreement. United States v. Arevalo-

Jimenez, 372 F.3d 1204, 1207 (10th Cir. 2004); United States v. Atterberry, 144 F.3d

1299, 1300 (10th Cir. 1998). Thus, a knowing and voluntary waiver of § 2255 rights in a

plea agreement is generally enforceable. United States v. Cockerham, 237 F.3d 1179,

1181 (10th Cir. 2001). The Tenth Circuit has adopted a three-pronged analysis for

evaluating the enforceability of such a waiver, in which the court must determine: (1)

whether the disputed issue falls within the scope of the waiver, (2) whether the defendant

knowingly and voluntarily waived his rights, and (3) whether enforcing the waiver would

result in a miscarriage of justice. See United States v. Hahn, 359 F.3d 1315, 1325 (10th

Cir. 2004) (en banc) (per curiam), cert. denied, 129 S. Ct. 212 (2008).


Scope of the Waiver


       In determining whether the disputed issue falls within the scope of the waiver, the

court begins with the plain language of the plea agreement. United States v. Anderson,

374 F.3d 955, 957 (10th Cir. 2004); Hahn, 359 F.3d at 1328. The provision in the plea

agreement by which Ms. Burgoon waived her right to collaterally attack her sentence

states as follows:




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       The defendant knowingly and voluntarily waives any right to appeal or collaterally

       attack any matter in connection with this prosecution, the defendant’s conviction,

       or the components of the sentence to be imposed herein (including the length and

       conditions of supervised release, as well as any sentence imposed upon a

       revocation of supervised release). The defendant is aware that Title 18, U.S.C. §

       3742 affords a defendant the right to appeal the conviction and sentence imposed.

       By entering into this agreement, the defendant knowingly waives any right to

       appeal a sentence imposed which is within the guideline range determined

       appropriate by the court. The defendant also waives any right to challenge a

       sentence or otherwise attempt to modify or change her sentence or manner in

       which it was determined in any collateral attack, including, but not limited to, a

       motion brought under Title 28, U.S.C. § 2255 [except as limited by United States

       v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001)], a motion brought under Title

       18, U.S.C. § 3582(c)(2) and a motion brought under Fed. Rule of Civ. Pro 60(b).

       In other words, the defendant waives the right to appeal the sentence imposed in

       this case except to the extent, if any, the court departs upwards from the applicable

       sentencing guideline range determined by the court.


(Doc. #312 at 11-12).


       The plea agreement is construed “according to contract principles and what the

defendant reasonably understood when [s]he entered [her] plea.” Arevalo-Jimenez, 372

F.3d at 1206 (internal quotation and citations omitted). The court strictly construes the

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waiver and resolves any ambiguities against the government and in favor of the

defendant. Hahn, 359 F.3d at 1343.


       Ms. Burgoon waived her right to collaterally attack a sentence within the guideline

range through a § 2255 motion, except for claims of ineffective assistance of counsel

related to the negotiation of the plea or waiver under United States v. Cockerham.

Cockerham, 237 F.3d at 1183. Ms. Burgoon asserts that she received ineffective

assistance of counsel in negotiating the plea agreement because her attorney failed to

properly advise her of the sentence she could receive. According to Ms. Burgoon, her

attorney led her to believe she would receive a sentence between twenty-four and forty-

six months, while she in fact faced a possible sentence of twenty years. Moreover, Ms.

Burgoon alleges her counsel failed to fully explain to her the ramifications of waiving her

rights to appeal and collaterally attack the sentence imposed. Ms. Burgoon contends

these claims of ineffective assistance fall within the scope of the exception in United

States v. Cockerham for claims of ineffective assistance in negotiation of the plea

agreement. Therefore, she argues that her claims do not fall within the scope of the

waiver she executed. On the other hand, the government asserts that Ms. Burgoon’s

claim of ineffective assistance based upon her attorney’s failure to properly advise her of

the sentence she faced falls outside of the scope of Cockerham, citing to the Tenth

Circuit’s decision in United States v. Kutilek.


       Cockerham permits a defendant in a § 2255 petition to assert an ineffective

assistance of counsel claim provided it relates to the negotiation of the plea agreement.

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In United States v. Kutilek, the Tenth Circuit addressed a claim of ineffective assistance

of counsel based partially upon counsel’s failure to explain to the defendant the

mandatory minimum sentence he faced if convicted. 260 Fed. Appx. 139, 146-47, 2008

WL 109343, at *5 (10th Cir. Jan. 11, 2008) (unpublished opinion). However, unlike the

defendant’s other claims for ineffective assistance, the Tenth Circuit did not state that the

claim for failure to explain the mandatory minimum sentence fell outside of the scope of

Cockerham. Rather, the Tenth Circuit addressed the matter on the merits, noting that (1)

such a claim could not “rise to the level of ineffective assistance of counsel” and (2) the

evidence directly contradicted the defendant’s contention that he would not have pled but

for the failure to advise him, because he had otherwise been informed of the applicable

statutory minimum. Id. (quoting United States v. Gordon, 4 F.3d 1567, 1570-71 (10th

Cir. 1993)). Likewise, the Court finds that Ms. Burgoon’s claims of ineffective

assistance based upon her attorney’s failure to inform her of the applicable maximum

sentence and the ramifications of the waiver fall within the scope of Cockerham.

Therefore, the Court discusses those claims on the merits, below.


Knowing and Voluntary


       For a waiver to be enforceable, the defendant must have knowingly and

voluntarily waived her appeal rights. Hahn, 39 F.3d at 1325. Ms. Burgoon alleges that

her plea was neither knowing nor voluntary because her counsel failed to explain to her

either the consequences of the waiver or the maximum sentence she faced, resulting in

her being unable to make an informed choice. She contends her attorney did not tell her

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she could be charged “with the entire conspiracy” and that he told her the “worst case

scenario” she faced was a sentence at the high end of the guidelines range. Moreover,

Ms. Burgoon argues she did not truly understand the rights she waived, such as the

meaning of “collateral attack.” When Ms. Burgoon questioned her attorney about the

waiver, he allegedly explained that she would not be unhappy with her sentence and that

the waiver was therefore irrelevant. In addition, she states her attorney induced her to

sign the plea agreement by making her fear that she would otherwise not see her children

again and would receive a sentence comparable to that of her co-defendant.


       In determining whether an appellate waiver was made knowingly and voluntarily,

the Court looks primarily to two factors: whether the plea agreement states that the

defendant entered the agreement knowingly and voluntarily and whether there was an

adequate Rule 11 colloquy. Hahn, 359 F.3d at 1325. Both conditions are satisfied here.

The plea agreement signed by Ms. Burgoon states that she “knowingly and voluntarily

waives any right to appeal or collaterally attack any matter in connection with this

prosecution, the defendant’s conviction, or the components of the sentence to be

imposed...” (Doc. # 312 at 11). See United States v. Leon, 476 F.3d 829, 834 (10th Cir.

2007) (concluding that the defendant failed to show the waiver was unknowing and

involuntary partly because the broad waiver provided the defendant “knowingly and

voluntarily waives any right to appeal or collaterally attack any matter in connection with

this prosecution, conviction and sentence”). Moreover, Ms. Burgoon acknowledged that

she read the agreement, that she understood it, that it was not the result of threats of


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coercion, and that she entered into the agreement and pled guilty “freely and voluntarily.”

(Doc. #312 at 13-14).


       In addition, during the plea colloquy, the Court inquired into whether Ms.

Burgoon understood the terms of the plea agreement and explained to her the

consequences of the waiver provision. Ms. Burgoon acknowledged that she understood

the waiver and was willingly waiving her rights to appeal or collaterally attack the

sentence imposed as part of the plea agreement.3 Her affirmation in court of her

understanding of the waiver and willing acceptance of it carries a strong presumption of

truth. Blackledge v. Allison, 431 U.S. 63, 74 (1977) (“Solemn declarations in open court

[affirming a plea agreement] carry a strong presumption of veracity. The subsequent

presentation of conclusory allegations unsupported by specifics is subject to summary

dismissal, as are contentions that in the face of the record are wholly incredible”) (citing

Machibroda v. United States, 368 U.S. 487, 495-96 (1962) and Price v. Johnston, 334

U.S. 266, 286-87 (1948), overruled on other grounds by McCleskey v. Zant, 499 U.S. 467

(1991). See also United States v. Chavez-Salais, 337 F.3d 1170, 1173 (10th Cir. 2003)

(the “content of a defendant’s waiver of appeal rights can be made known to

him…through the colloquy with the court required by Federal Rule of Criminal

Procedure 11”).



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  The Court explained to Ms. Burgoon the concept of collateral attack and asked whether
she understood she was giving up that right. Ms. Burgoon replied “yes.” The Court then
inquired into whether giving up that right was something Ms. Burgoon was “willing to
do” and she replied “yes.” (Doc. #425 at 20-21).
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Miscarriage of Justice


       Enforcing a waiver results in a miscarriage of justice only if (1) the district court

relied on an impermissible factor such as race, (2) the defendant received ineffective

assistance of counsel in connection with the negotiation of the waiver, (3) the sentence

exceeds the statutory maximum, or (4) the waiver is otherwise unlawful. Hahn, 359

F.3d at 1327. For a waiver to be otherwise unlawful, there must be an error that seriously

affects the fairness, integrity, or public reputation of the judicial proceedings. United

States v. Olano, 507 U.S. 725, 732 (1993). Ms. Burgoon has the burden to show that

enforcement of the plea waiver will result in a miscarriage of justice. United States v.

Anderson, 374 F.3d 955, 959 (10th Cir. 2004).


       Ms. Burgoon contends that she received ineffective assistance of counsel because

(1) her attorney failed to inform her of the applicable twenty-year statutory maximum

sentence, instead leading her to believe she would receive a sentence between twenty-

four and forty-six months, and (2) her attorney did not sufficiently explain to her the

scope or consequences of the waiver she executed of the rights to appeal and collaterally

attack her sentence. The Court construes these assertions as claims of ineffective

assistance of counsel in conjunction with the negotiation of the plea. Such claims are

expressly excluded from the waiver executed by Ms. Burgoon. See United States v.

Cockerham, 237 F.3d at1187 (defendant cannot waive the right to bring a § 2255 petition

based on ineffective assistance of counsel claims challenging the validity of the plea or

the waiver). Nonetheless, the Court concludes Ms. Burgoon cannot demonstrate that she

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received ineffective assistance of counsel in the negotiation of the plea agreement

because the Court informed her of all matters she contends her attorney failed to explain

to her.


          The constitutional right to effective assistance of counsel is defined in Strickland

v. Washington, 466 U.S. 668 (1984). Under that test, Ms. Burgoon must first

demonstrate that her counsel’s performance was deficient, in that it “fell below an

objective standard of reasonableness.” Id. at 688. Second, Ms. Burgoon must

demonstrate that she was prejudiced by counsel’s deficient performance. In the context

of a guilty plea, this requires showing a reasonable probability that “but for counsel’s

errors, [s]he would not have pleaded guilty and would have insisted on going to trial.”

United States v. Harms, 371 F.3d 1208, 1211 (10th Cir. 2004) (quoting Hill v. Lockhart,

474 U.S. 52, 59 (1985)). The Court concludes that Ms. Burgoon has failed to show she

suffered prejudice from any allegedly deficient performance of her counsel. See Walker

v. Gibson, 228 F.3d 1217, 1231 (10th Cir. 2000) (court need not address whether

counsel’s performance was deficient if petitioner cannot demonstrate prejudice),

abrogated on other grounds by Neill v. Gibson, 278 F.3d 1044 (10th Cir. 2001). See also

United States v. Hamilton, 510 F.3d 1209, 1216 (10th Cir. 2007) (same) (citing

Strickland, 466 U.S. at 697), cert. denied, 128 S. Ct. 1922 (2008).


          First, Ms. Burgoon asserts that she lacked constitutionally sufficient counsel

because her attorney did not apprise her of the maximum sentence she faced. However,

Ms. Burgoon was otherwise informed of the applicable sentence from the express

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language of the plea agreement and from the plea colloquy with the Court. The plea

agreement explicitly states that the maximum sentence that could be imposed based upon

the charge to which she pled guilty is “not more than 20 years imprisonment, not more

than a $500,000 fine, not more than 3 years of supervised release, and a $100 mandatory

special assessment.” (Doc. #312 at 1). Ms. Burgoon affirmed that she read the plea

agreement and understood it. (Doc. #312 at 13). Moreover, during the plea colloquy, the

Court explained to Ms. Burgoon that the maximum sentence of imprisonment for the

offense was twenty years, and Ms. Burgoon affirmed her understanding.4 The Court also

explained to Ms. Burgoon that it could not tell her precisely what her sentence would be,

and that her attorney could not make any promises or guarantees to her about the length

of her sentence. She confirmed to the Court that she understood. (Doc. #425 at 13-14).

Ms. Burgoon further confirmed to the Court that her counsel had not made any promise

or guarantee that she would receive a particular sentence. (Doc. #425 at 14). Finally,

Ms. Burgoon affirmed in the plea agreement her understanding that the sentence to be

imposed would be determined “solely by the United States District Judge.” (Doc. #312 at

9). For these reasons, the Court concludes Ms. Burgoon failed to establish she suffered

prejudice from any alleged failure of her counsel to inform her of the applicable

maximum sentence. See United States v. Silva, 430 F.3d 1096, 1099 (10th Cir. 2005)

(rejecting an ineffective assistance claim based on counsel’s advice that the defendant

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  The Court explained as follows: “I want to go over with you the punishment that you
could receive as a result of being found guilty of this charge. With regard to
imprisonment, the statute under which you are charged provides for not more than 20
years in prison.” Ms. Burgoon affirmed that she understood when questioned. (Doc.
#425 at
                                            14
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was facing a much shorter sentence than he actually received because the defendant

acknowledged in his plea agreement and during the plea colloquy that he understood

sentencing would be discretionary) and United States v. Hamilton, 410 F.3d at 1216-17

(rejecting an ineffective assistance claim based on counsel’s failure to explain the

sentencing effect of the career offender guidelines because the court informed the

defendant of the possible penalties and the defendant affirmed his understanding of the

maximum sentence and that the court could impose a greater sentence than expected)

(citing United States v. Gordon, 4 F.3d 1567, 1571 (10th Cir. 1993) and Bethel v. United

States, 458 F.3d 711, 718-19 (7th Cir. 2006)). See also United States v. Kutilek, 260 Fed.

Appx. at 146-47 (concluding the defendant could not establish prejudice based upon

counsel’s failure to advise him of the mandatory minimum sentence where he was

informed of the applicable statutory minimum by the language in the plea agreement and

by the court, and he acknowledged his understanding and agreed he would still be bound

by the plea even if the sentence imposed was more severe than he expected).


       Second, Ms. Burgoon alleges that she received constitutionally deficient counsel

because her attorney failed to truly explain to her the rights she gave up pursuant to the

plea agreement. For example, Ms. Burgoon contends that she did not understand the

meaning of “collateral attack.” However, the Court fully explained to Ms. Burgoon the

consequences of the waiver, including the waiver of her right to collaterally attack the




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sentence.5 Ms. Burgoon confirmed that she accepted those consequences voluntarily.

Therefore, Ms. Burgoon cannot establish that she suffered prejudice from her counsel’s

alleged failure to explain the consequences of executing the waiver, as she was otherwise

informed of the rights she waived. See United States v. Hamilton, 510 F.3d at 1216-17

(citing United States v. Gordon, 4 F.3d at 1571 and Bethel v. United States, 458 F.3d at

718-19).


       Lastly, there is no other basis for concluding that enforcement of the waiver would

result in a miscarriage of justice. Ms. Burgoon has not asserted that the Court acted in

reliance upon her race, that the sentence exceeded the statutory maximum or that the

waiver is otherwise unlawful. Therefore, enforcement of the waiver will not result in a

miscarriage of justice.




III. Conclusion


       For the foregoing reasons, the Court denies Ms. Burgoon’s claim that she received

ineffective assistance of counsel in connection with the negotiation of her plea. Having



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 The Court explained collateral attack as follows: “collateral attack is another way that a
person can get back before a Judge to challenge the legality or constitutionality of their
sentencing. In federal court, it’s usually done by what’s called a Section 2255 Petition.
But that also sometimes goes under the name habeas corpus or other statutory section
numbers or other titles, things like that. But the point is, it is a way to challenge your
sentence.” (Doc. # 425 at 20-21). After the Court explained to Ms. Burgoon that she
would give up that right under the terms of the plea agreement, she affirmed that she
wanted to do so. (Doc. #425 at 21).

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concluded that enforcing the waiver contained in Ms. Burgoon’s plea agreement will not

result in a miscarriage of justice, the Court grants the government’s motion to enforce.




       IT IS THEREFORE ORDERED BY THE COURT that Ms. Burgoon’s motion

to vacate, set aside or correct her sentence pursuant to 28 U.S.C. § 2255 (Doc. #473) is

denied and the government’s motion to enforce Ms. Burgoon’s plea agreement (Doc.

#480) is granted.




IT IS SO ORDERED this 6th day of October, 2009.




                                                        s/ John W. Lungstrum
                                                        John W. Lungstrum
                                                        U.S. District Judge




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